                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


JAMES MOLLET,

                      Plaintiff,

                      v.                     Case No. 16-CV-1145

CITY OF GREENFIELD,

                      Defendant.


      MOTION TO EXTEND DEADLINE TO FILE A NOTICE OF APPEAL


       James Mollet, by his Attorney, Chris Donovan, hereby moves the Court for an

order to extend the deadline to file a notice of appeal by 28 days under Fed. R. App. P.

4(a)(5) for good cause shown. As and for support for this motion, undersigned counsel

shows to the Court as follows:

       1. Mr. Mollet filed a complaint against the defendant alleging age discrimination

           (this claim was later voluntarily dismissed) and retaliation for opposing

           discrimination in the workplace. See Docket Entry 1. On August 23rd, 2018,

           Magistrate Judge Duffin recommended that summary judgment be granted for

           the defendant against Mr. Mollet, see Docket Entry 42, and on October 23rd,

           2018, this Court entered an order and judgment granting summary judgment

           for the defendant. See Docket Entries 45 and 46.

       2. Mr. Mollet’s current deadline under Fed. R. App. 4(a)(1)(A) to file a notice of

           appeal is November 23rd, 2018 (the day after Thanksgiving), but undersigned

           counsel will be out of town starting November 21st for the holiday and will



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   have to file the notice of appeal on November 20th (one week from today)

   should this motion not be granted.

3. Undersigned counsel makes his appearance today and was recently hired by

   Mr. Mollet to conduct a file review to determine the merits of an appeal. The

   record is voluminous, consisting of over 50 docket entries including several

   deposition transcripts, affidavits, lengthy proposed findings of fact, briefs by

   both sides relating to summary judgment, Judge Duffin’s 18-page order

   recommending summary judgment be granted for the defendant, and several

   other documents and materials.

4. In the interest of judicial economy should Mr. Mollet ultimately decide not to

   pursue an appeal after counsel has adequate time to review the record and

   discuss the merits of an appeal with him, he moves for an additional 28 days

   to file his notice of appeal under Fed. R. App. P. 4(a)(5)(C).

5. Undersigned counsel spoke with counsel for the defendant, William Ehrke,

   yesterday to get his position on this request. He said he would have to speak

   with his client before relating his position and that he would not be able to do

   so by the time undersigned counsel wished to file this motion on today’s date.

   Given the short time period between today’s date and when undersigned

   counsel would have to file the notice of appeal a week from today as related

   above, he is filing this request without obtaining the defendant’s formal

   position.

6. Undersigned counsel does not believe that granting the request would

   prejudice the defendant because either Mr. Mollet will ultimately decide not to




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           pursue an appeal in which case the judgment will stand, or he will pursue one,

           in which case the defendant will have even more time to ready itself for an

           appeal and receive Mr. Mollet’s opening brief.

       For all these reasons, Mr. Mollet asks for an additional 28 days to file his notice

of appeal under Fed. R. App. P. 4(a)(5)(C), to and including December 21st, 2018.



Respectfully submitted at Milwaukee, Wisconsin this 13th day of November, 2018.



                                             /s/_________________________
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